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     LAKESHORE ENTERTAINMENT
 7   GROUP LLC, LAKESHORE
     ENTERTAINMENT CORP.,
 8   FILMDISTRICT PICTURES, LLC, FOCUS
     FEATURES, LLC, SIDNEY KIMMEL
 9   ENTERTAINMENT, LLC, BRILLCO,
     INC., STEVEN BRILL, ELIZABETH
10   BANKS, and MAX HANDELMAN
11
                              UNITED STATES DISTRICT COURT
12
               CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
13
14   SHAME ON YOU PRODUCTIONS,                 Case No.: 2:14-cv-03512 MMM (JCx)
     INC.,
15
                     Plaintiff,
16                                             LAKESHORE ENTERTAINMENT
     v.                                        GROUP LLC, LAKESHORE
17                                             ENTERTAINMENT CORP.,
     ELIZABETH BANKS, an individual;           FILMDISTRICT PICTURES, LLC,
18   MAX HANDELMAN, an individual,             FOCUS FEATURES, LLC, SIDNEY
     STEVEN BRILL, an individual,              KIMMEL ENTERTAINMENT, LLC,
19   BRILLCO, INC., a California               BRILLCO, INC., STEVEN BRILL,
     corporation, FOCUS WORLD, INC., a         ELIZABETH BANKS, AND MAX
20   California corporation; SIDNEY            HANDELMAN’S NOTICE OF
     KIMMEL ENTERTAINMENT, LLC,                MOTION AND MOTION FOR FEES
21   a California limited liability company;   AND COSTS
     FILMDISTRICT PICTURES, LLC, a
22   Delaware limited liability company;
     LAKESHORE ENTERTAINMENT
23   CORP., a Delaware corporation;            Date: December 7, 2015
     LAKESHORE ENTERTAINMENT                   Time: 10:00 a.m.
24   GROUP LLC, a California limited           Place: Courtroom 780
     liability company; and Does 1-10,
25   inclusive,
                            Defendants.        [Assigned to Hon. Margaret M. Morrow]
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 1
     TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
 2
           PLEASE TAKE NOTICE that on December 7, 2015, at 10:00 a.m., or as soon
 3
     thereafter as the parties may be heard, before the Honorable Margaret M. Morrow,
 4
     United States District Judge, in Courtroom 780 of the Edward R. Roybal Federal
 5
     Building and Courthouse, located at 255 E. Temple Street, Los Angeles, California
 6
     90012, defendants Lakeshore Entertainment Group LLC (“Lakeshore”), Lakeshore
 7
     Entertainment Corp., Film District Pictures, LLC, Focus Features, LLC, Sidney Kimmel
 8
     Entertainment, LLC, Brillco, Inc., Steven Brill, Elizabeth Banks, and Max Handelman
 9
     (collectively “Defendants”) will and hereby do move the Court for an order awarding
10
     attorneys’ fees incurred by Defendants in connection with claims for copyright
11
     infringement asserted against them by Plaintiff Shame On You Productions, Inc.,
12
     (“Shame” or “Plaintiff”). The Motion is made pursuant to 17 U.S.C. § 505 and 28
13
     U.S.C. § 1927. Final judgment was entered in this matter on August 14, 2015. (See
14
     docket entry for CM/ECF [“Dkt.”] Nos. 172 and 173.) Defendants request the above
15
     fees to be awarded jointly and severally against Plaintiff Shame on You Productions,
16
     Inc., and Plaintiff’s attorney of record, Charles M. Coate.
17
           The Motion is based upon this Notice of Motion, the attached Memorandum of
18
     Points and Authorities, the concurrently filed Declarations of Stephen R. Mick and
19
     Devin J. Stone, the concurrently filed bill of costs, all pleadings and papers on file in
20
     this action, and upon such other matters as may be presented to the Court at the time of
21
     the hearing.
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 1
           The Motion is made following the conference of counsel pursuant to L.R. 7-3
 2
     which took place on August 20, 2015.
 3
     Dated: August 28, 2015                 BARNES & THORNBURG LLP
 4
 5
                                            By:        /s/ Devin Stone
 6
                                                      STEPHEN R. MICK
 7                                                      DEVIN STONE
                                                    Attorneys for Defendants
 8
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 1
                     MEMORANDUM OF POINTS AND AUTHORITIES
 2
     I.    INTRODUCTION
 3
           Plaintiff’s Complaint alleged that everyone remotely associated with the movie
 4
     Walk of Shame – including the husband of the lead actress, whose only offense was to
 5
     attend the wrong lunch – was guilty of copyright infringement with respect to Plaintiff’s
 6
     decade-old script. These allegations were baseless. As this Court found, the two works
 7
     shared no legally relevant similarities. This Court was able to make that determination
 8
     “on the pleadings” – a judgment that should have occurred in the Fall of 2014, but
 9
     which was delayed for almost a year because Plaintiff knowingly and intentionally hid
10
     its screenplay in a bad faith effort to extort settlement money from Defendants. This
11
     wanton act of misconduct should not go unnoticed – or unpunished – by the Court.
12
           What should have been a quick and simple 12(b) decision became, instead, a full
13
     blown litigation through the end of discovery and well into pretrial preparation because
14
     Plaintiff did everything in its power to prevent a substantive decision in this case.
15
     Plaintiff’s extensive misfeasance dramatically increased the costs and extent of the
16
     litigation for no purpose other than to harass Defendants.
17
           The United States Copyright Act, 17 U.S.C. § 505, provides that the Court may
18
     award Defendants’ reasonable attorneys’ fees as the prevailing parties in this action. As
19
     this Court determined in its August 14th ruling, Plaintiff’s claims against Defendants
20
     were baseless and Defendants prevailed. The Copyright Act does not require Plaintiffs’
21
     claims to have been groundless or to have been brought in bad faith to warrant an award
22
     of fees to Defendants. See Fantasy, Inc. v. Fogerty, 94 F.3d 553, 557-60 (9th Cir. 1996).
23
     That this action was, in fact, utterly baseless and pursued in bad faith simply
24
     underscores the need for an award of attorneys’ fees to vindicate the purposes of the Act.
25
           Plaintiff’s behavior fully justifies an award. In sum:
26
                Immediately before filing suit, Plaintiff’s putative author, Dan Rosen,
27
                  created a shell company – “Shame on You Productions” – for the sole
28

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 1
                 purpose of bringing this claim in an attempt to insulate himself from
 2
                 liability for a fee and costs award under the Copyright Act. Plaintiff’s
 3
                 intentional and conscious understanding of his potential liability for fees is
 4
                 a brazen indication of how clearly this claim lacked merit
 5
               After sending an initial demand letter to Lakeshore, Plaintiff’s counsel
 6
                 refused to provide Lakeshore with a copy of the script on which the claim
 7
                 was based, despite written requests from Lakeshore’s in-house counsel.
 8
               Plaintiff knowingly declined to attach the screenplay to its Complaint, and
 9
                 then refused to provide the screenplay to defense counsel at the outset of
10
                 the litigation.
11
               In contravention of its obligations under Rule 26, Plaintiff refused to turn
12
                 over the screenplay on which the claim was based at the initial meeting of
13
                 counsel.
14
               Despite being ordered to turn over the screenplay by the Court at the initial
15
                 scheduling order, Plaintiff continued to refuse to do so, and admitted that
16
                 its refusal was for the explicit purpose of preventing Defendants from filing
17
                 a Rule 12 motion.
18
               In the weeks prior to the Court’s second order that it turn over the
19
                 screenplay, Plaintiff attempted to bury Defendants in thousands of pages of
20
                 discovery requests, and then further thousands of pages of discovery
21
                 motions, in an effort to extort a settlement before Defendants had even the
22
                 opportunity to evaluate the merits of the claim.
23
               Plaintiff then amended its complaint (at the 11th hour) to assert claims
24
                 against two additional parties (the “Garner Defendants”) who also faced no
25
                 liability for copyright infringement, simply to create new issues to avoid a
26
                 determination on the merits.
27
28

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 1
           The claims in this case should have been adjudicated in the Fall of 2014, prior to
 2
     discovery, based on the pleadings in the case. Instead, solely because of Plaintiff’s bad
 3
     faith conduct, Defendants were forced to expend significant and completely unnecessary
 4
     time in defending this suit.
 5
           “A successful defense furthers the purposes of the Copyright Act just as much as
 6
     a successful infringement suit does.” Inhale, Inc. v. Starbuzz Tobacco, Inc., 739 F.3d
 7
     446, 449 (9th Cir. 2014). Defendants were completely successful in defending against
 8
     Plaintiff’s meritless copyright claims. It is entirely consistent with the purposes of the
 9
     Copyright Act to protect rightful expression by strongly discouraging invalid claims.
10
     For those reasons, Defendants respectfully request that this Court award attorneys’ fees
11
     pursuant to 17 U.S.C. §505 and 28 U.S.C. § 1927 in the amount of $ 360,616.00
12
     against, Plaintiff Shame on You, and its attorney, Mr. Coate.
13
     II.   PLAINTIFF’S UNCONSCIONABLE CONDUCT JUSTIFIES AN AWARD
14
           OF ATTORNEYS’ FEES
15
           A.     Plaintiff’s Allegations
16
           In 2006, Dan Rosen (“Rosen”), allegedly wrote a screenplay for a movie about a
17
     fanciful rom-com throughout Hawaii entitled Darci’s Walk of Shame (“Darci’s”).
18
     Rosen’s script went nowhere – like 100,000 scripts in Los Angeles, it was rejected by
19
     anyone who read it. In 2014, however, after learning that Lakeshore was producing a
20
     movie with a similar name, Rosen created a shell company and assigned his rights in the
21
     screenplay to plaintiff Shame on You Productions, Inc. – for the sole purpose of
22
     shielding his liability for fees and costs in connection with this suit.1 Plaintiff then
23
     brought suit against everyone even remotely associated with movie – the producers,
24
25   1
       This stratagem employed by Rosen and Coate effectively forces Defendants to pursue
26   a separate lawsuit in order to recover any costs, in which Defendants fully intend to
27   demonstrate that Plaintiff Shame on You Productions was an asset-less shell company
     created for the sole purpose of insulating Rosen from the natural and expected results of
28   his bad faith litigation against Defendants.
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 1
     distributors, authors, writer, director and actress – and, for good measure, the actress’
 2
     husband, who had the misfortune of going to a lunch meeting many years ago [Dkt. 1
 3
     “Compl.”, ¶¶ 4-12.].
 4
           B.     Plaintiff Actively and Intentionally Hid Its Screenplay From
 5
                  Defendants for Eight Months
 6
                  1.     Plaintiff Refused to Turn over Its Screenplay at the Outset of the
 7
                         Case
 8
           At the outset of the case, Lakeshore reached out to Plaintiff to request a copy of
 9
     Plaintiff’s screenplay so that Lakeshore might meaningfully assess Plaintiff’s claims.
10
     Plaintiff refused to provide the screenplay. Declaration of Devin Stone (“Stone Decl.”)
11
     ¶ 2, Ex. 1. (Because Lakeshore’s motion picture was, of course, publicly released, it
12
     was always fully available to Plaintiff. The Complaint admits that Plaintiff had access
13
     to the Lakeshore movie.)
14
           When Plaintiff filed its Complaint, it attached an extensive (if inaccurate and one-
15
     sided) comparison between Plaintiff’s screenplay and Defendants’ movie. The matrix
16
     itself comprised of over seven pages citations to Plaintiff’s screenplay (complete with
17
     page references) yet, Plaintiff intentionally withheld the actual screenplay and did not
18
     attach it to the Complaint. See Compl.
19
                  2.     Plaintiff Refused to Turn Over the Screenplay at the Rule 26f
20
                         Conference or with the Initial Disclosures
21
           On August 14, 2014, all counsel in this action participated in a Rule 26(f)
22
     conference. Defense counsel renewed the prior demands for Plaintiff to turn over a
23
     copy of the Rosen screenplay. Indeed, Defense counsel suggested that the parties could
24
     streamline proceedings by an early exchange of every screenplay. Plaintiff’s counsel,
25
     Charles Coate, refused to provide the script. Stone Decl. ¶ 3.
26
           Weeks later, Plaintiff refused again to provide the script with Plaintiff’s
27
     screenplay with Plaintiff’s initial disclosures. Stone Decl. ¶¶ 5-8.
28

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 1
                  3.     Court Orders Disclosure at Initial Scheduling Conference
 2
           On September 29, 2014, the Court held a scheduling conference in which the
 3
     Court ordered Plaintiff to produce its screenplay. There was an explicit discussion of
 4
     the issue on the record, and Court explicitly told Plaintiff to hand over the screenplay.
 5
     Plaintiff, again, refused to comply. [Dkt. 34-1]; Stone Decl. ¶ 4.
 6
                  4.     Defendants Continued to Request Plaintiff’s Screenplay To
 7
                         Facilitate A Rule 12 Motion
 8
           On October 28, 2014, defense counsel called and emailed Plaintiff’s counsel to
 9
     discuss Plaintiff’s failure to provide its screenplay. Plaintiff’s counsel responded by
10
     refusing to provide a copy of Plaintiff’s screenplay and denying that the Court had
11
     ordered Plaintiff to provide a copy of its screenplay. Defendants responded several
12
     times explaining that Plaintiff could not proceed with a copyright claim in good faith
13
     without providing the work that was allegedly infringed. Stone Decl. ¶¶ 7-10
14
           Several days later, Defendants reached out again, this time, with a copy of the
15
     transcript of the Court’s scheduling conference. Defense counsel provided the exact
16
     language the Court used in ordering the parties to turnover their relevant screenplays.
17
     Unfortunately, even the Court’s own words were not persuasive. Defendants informed
18
     Plaintiff that if it did not turn over the screenplay, it would force Defendants to move for
19
     an ex parte order forcing Plaintiff to comply with the Court’s prior directive ordering
20
     Plaintiff to turn over its screenplay. Id.
21
           Because Plaintiff refused to comply with the Court’s directives and failed to
22
     uphold its Rule 26 obligations, Defendants were required to file an ex parte application
23
     for (another) order compelling Plaintiff to turn over its screenplay on November 6,
24
     2014. [Dkt. 33]
25
                  5.     The Court Grants Defendants’ Ex Parte Application
26
           On December 12, 2014 – nearly eight months after Plaintiff filed suit – the Court
27
     granted Defendant’s ex parte application. The Court ordered Plaintiff to turn over its
28

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 1
     screenplay by December 17, 2014. The Court stated that “Defendants have provided
 2
     their screenplay; it is time for Shame on You to do the same.” The Court noted that it
 3
     was well within its power to “hold Shame on You in civil contempt to force compliance
 4
     with its disclosure order.” The Court characterized Plaintiff’s contentions in opposition
 5
     as “not well taken,” “lacking in merit,” and “troubling.” [Dkt. 42] Plaintiff finally
 6
     complied just before the Christmas holiday at the end of 2014. Defendants responded
 7
     that they “anticipate[d] filing a motion for judgment on the pleadings” as soon as
 8
     possible. [Dkt. 58].
 9
           C.     Despite Actively Refusing to Provide the Screenplay on which the
10
                  Claim was Based, Plaintiff Moved Forward With Voluminous
11
                  Discovery and Engaged in Improper Gamesmanship
12
                  1.    Plaintiff Propounds Extensive Discovery Just Before the Holidays
13
           While Plaintiff hid its screenplay to prevent Defendants from filing the obvious
14
     motion to dismiss or motion for judgment on the pleadings, Plaintiff attempted to
15
     leverage Defendants into a settlement by propounding nine sets of requests for
16
     production of documents, nine sets of interrogatories, four sets of requests for
17
     admissions, and three deposition notices. Plaintiff’s requests for production alone
18
     included 300 nealry separate requests for production of documents over the holiday
19
     season. Stone Decl. ¶ 11.
20
           In response, Defendants asked for a one week extension given that the
21
     Thanksgiving holiday fell in the middle of the responses. Plaintiff refused to grant any
22
     extension. Stone Decl. ¶ 12.2 Defendants also explained that Plaintiff’s discovery was
23
     premature, given that Plaintiff had refused to provide the screenplay on which the
24
25
26
27   2
      On the same day, then-counsel for Elizabeth Banks and Max Handelman also asked
28   for an extension. Plaintiff refused to grant that extension as well. Stone Decl. ¶ 13.
                                               6
                                        MOTION FOR FEES
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 1
     claims were based, and thus that Defendants had no basis on which to evaluate the
 2
     claims or their defenses.3
 3
           Shortly thereafter, on December 3, 2014, Plaintiff sent eight letters regarding
 4
     Plaintiff’s written discovery requests. Stone Decl. ¶ 14. Defendants responded by
 5
     explaining that they were more than willing to meet & confer with Plaintiff but were
 6
     unavailable for the December-dates Plaintiff suggested due the holiday schedule, Mr.
 7
     Mick’s two back-to-back December trials, and Mr. Stone’s cross-country move. Stone
 8
     Decl. ¶ 15. Defense counsel also explained that they would need time to come up to
 9
     speed in representing the new defendants, Ms. Banks and Mr. Handelman – who had
10
     just agreed to be represented by the same counsel as Lakeshore. Id. Defense counsel
11
     requested only that the meet & confer conference occur in the first week of January.
12
     Plaintiff responded by refusing to make any accommodation and demanding full
13
     concessions from Defendants. Stone Decl. ¶ 15-19.
14
                  2.    Plaintiff Filed Eight Motions to Compel Without Meeting and
15
                        Conferring
16
           Without allowing even the smallest of scheduling accommodation or discussion,
17
     Plaintiff immediately filed eight motions to compel with no meet & confer, in a
18
     transparent attempt to prejudice Defendants. Each of the motions was roughly 150
19
     pages long – a total of more than 1000 pages. [Dkt. 43-50]
20
                  3.    Plaintiff Used The Discovery Process to Needlessly Increase the
21
                        Expenses of the Litigation
22
           Despite a direct order from Magistrate Judge Chooljian to stop such conduct, and
23
     engage in a good faith meet and confer process, Plaintiff’s counsel was not amenable to
24
25   3
       Defendants repeatedly raised this issue at virtually every discovery conference, all
26   correspondence related to discovery, and with every written discovery response. See
27   e.g. Dkt. 33, 34, 40, 41, 41-1, 58, and 64-75. Plaintiff cannot claim that it was not
     warned that its behavior was multiplying the cost of the litigation and that its discovery
28   was premature and baseless.
                                                7
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 1
     conducting a real conference or seriously discussing most of the issues presented by
 2
     Plaintiff’s eight motions to compel. [Dkt. 54]; Stone Decl. ¶ 33-39.
 3
           On January 7, 2015, Defendants attempted to conduct the Conference ordered by
 4
     the Court with Plaintiff. Plaintiff was only willing to discuss two requests out of the
 5
     271 requests at issue. Id. Thus began a lengthy process in which Plaintiff sought to use
 6
     the discovery process as a blunt instrument to bludgeon Defendants into a settlement of
 7
     the action before the Court could adjudicate the merits of the claim.4
 8
           D.     Defendant’s Long-Delayed Pleadings Motion Resulted in a Finding
 9
                  that Plaintiff’s Claims Lacked Any Basis
10
           When Plaintiff was finally forced to hand over the script on which the claim was
11
     based, Defendants were able to file a motion for judgment on the pleadings in early
12
     2015. Unfortunately, the Court’s calendar prevented that motion from being heard until
13
     many months later. The result was that a determination that could have, and should
14
     have, been made the outset of the case, was made in August 2015. But not for any lack
15
     of effort on the part of Defendants.
16
           In its order of August 14, 2015, this Court dismissed Plaintiff’s copyright claims
17
     with prejudice stating, inter alia, in its 65 page order that “many of the purported
18
     similarities Shame on You identifies flow directly from the basic premise of a walk of
19
     shame,” “these scenes-à-faire are not protectable,” “the events . . . are entirely
20
     different,” “it is evident that the settings of the two works are substantially different, not
21
     similar,” “the court cannot find the pace of the two works substantially similar,” “to the
22
     extent the characters are sufficiently developed, they share no articulable similarities,”
23
24   4
      Plaintiff’s counsel’s obstinacy in the discovery conferences was transparent and well-
25   documented. A classic and representative sample: “MR. COATE: If you think we’re
     going through request by request individually, that’s not going to happen.” (Dkt. 59-9
26   “Tr.” at 11:3-5); “MR. STONE: If you want to -- to narrow it down, then I think we
27   might be able to respond. MR. COATE: We’re not willing to -- we’re not willing to
     amend our requests.” (Tr. 33:2-5)
28

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                                            MOTION FOR FEES
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 1
     and “the two works tell decidedly different stories, and lack substantial similarity as a
 2
     matter of law.” The Court also held that Plaintiff had “mischaracterized” substantial
 3
     aspects of the two works. [Dkt 172]
 4
           Accordingly, the Court entered judgment in Defendants’ favor on August, 14,
 5
     2015. [Dkt. 173].
 6
           E.     Plaintiff is Solely Responsible for Every Discovery-Related Cost
 7
           The common thread running through Plaintiff’s entire case, was to withhold the
 8
     basis of its case while simultaneously pursuing needlessly aggressive discovery.
 9
     Defendants were extraordinarily prejudiced by being forced to litigate without the
10
     benefit of Plaintiff’s work, while Plaintiff possessed Defendants’ work (a publically
11
     released movie) from the very start. The Court explicitly commanded Plaintiff to
12
     provide its screenplay to put the parties on equal footing back in September 2014. But
13
     Plaintiff disregarded the command. Plaintiff also dissembled in stating that it would
14
     produce its script with its initial disclosures. It took another order following
15
     Defendants’ Ex Parte Application for an Order Directing Plaintiff to Produce its
16
     Screenplay before Plaintiff would comply. Plaintiff admitted to the Court that it did so
17
     to prevent Defendants from filing a motion for judgment on the pleadings. [Dkt. 42, p.
18
     6] (“Shame on You’s suggestion that it is withholding evidence to prevent the filing of a
19
     motion is troubling.”) Plaintiff’s gamesmanship resulted in nearly a year of needless
20
     litigation and discovery, for which Plaintiff bears the ultimate responsibility.5
21
           The notion that a copyright plaintiff can sue nine defendants for infringement of a
22
     work, and refuse to provide the work that is allegedly infringed for the sole purpose of
23
     running up the defense costs and preventing the court from examining the work defies
24
     every bound of professional or responsible behavior. It cannot be condoned.
25
26   5
       Plaintiff also took full advantage of asymmetry of one plaintiff against nine – and
27   eventually eleven – defendants. Plaintiff propounded nearly identical discovery and
     filed nearly identical motions against all defendants causing Defendants to expend nine
28   times the effort to respond and contest.
                                                9
                                         MOTION FOR FEES
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 1
     III.   DEFENDANTS ARE ENTITLED TO FEES UNDER THE COPYRIGHT
 2
            ACT
 3
            A.    The Copyright Act Encourages An Award of Fees
 4
            Section 505 of the Copyright Act provides that “the court in its discretion may
 5
     allow the recovery of full costs by or against any party . . . [and] may also award a
 6
     reasonable attorney’s fee to the prevailing party as part of the costs.” 17 U.S.C. § 505.
 7
     “The grant of fees and costs is the rule rather than the exception and [they] should be
 8
     awarded routinely.” Bridgeport Music, Inc, v. WB Music Corp., 520 F.3d 588, 592 (6th
 9
     Cir.2008) (emphasis added); see also Fogerty v. Fantasy, Inc., 510 U.S. 517, 534 (1994)
10
     (Fogerty I) (quoting Hensley v. Eckerhart, 461 U.S. 424, 436-37 (1983)); see Fantasy,
11
     Inc. v. Fogerty, 94 F.3d 553, 555 (9th Cir. 1996) (Fogerty II) (stating that “an award of
12
     attorney’s fees to a prevailing defendant that furthers the underlying purposes of the
13
     Copyright Act is reposed in the sound discretion of district courts, and that such
14
     discretion is not cabined by a requirement of culpability on the part of the losing
15
     party”). A showing of exceptional circumstances is not a prerequisite to an award of
16
     fees under the Copyright Act. Historical Research v. Cabral, 80 F.3d 377, 378 (9th Cir.
17
     1996); see also Fogerty II, 94 F.3d at 560 (“[A] finding of bad faith, frivolous or
18
     vexatious conduct is no longer required; and awarding attorney’s fees to a prevailing
19
     defendant is within the sound discretion of the district court informed by the policies of
20
     the Copyright Act”). On the contrary, “[d]efendants who defeat a copyright
21
     infringement action are entitled to a strong presumption in favor of a grant of fees.”
22
     HyperQuest, Inc. v. N’Site Solutions, Inc., 632 F.3d 377, 387 (7th Cir. 2011) (emphasis
23
     added).
24
            “In deciding whether to award fees under the Copyright Act, the district court
25
     should consider, among other things: the degree of success obtained on the claim;
26
     frivolousness; motivation; objective reasonableness of factual and legal arguments; and
27
     need for compensation and deterrence.” Maljack Prods., Inc. v. Goodtimes Homes Video
28

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 1
     Corp., 81 F.3d 881, 889 (9th Cir. 1996); see Columbia Pictures Television, Inc. v.
 2
     Krypton Broad. of Birmingham, Inc., 259 F.3d 1186, 1197 (9th Cir. 2001) (same); see
 3
     also Fogerty I, 510 U.S. at 534 n. 19. The Ninth Circuit has identified as additional
 4
     considerations the “purposes” of the Copyright Act, and whether the chilling effect of
 5
     attorneys’ fees may be too great or impose an inequitable burden on the party against
 6
     whom the award is made. Fogerty II, 94 F.3d at 559-60.
 7
           B.     Courts are especially willing to provide fees where the Defendants are
 8
                  successful as a matter of law on a Rule 12 motion
 9
           Courts routinely award attorneys’ fees to successful Defendants who are able to
10
     dismiss unfounded copyright claims based on the pleadings. See DuckHole Inc. v.
11
     NBCUniversal Media LLC, 2:12-cv-10077-BRO-CW (C.D. Cal., Oct 25, 2013) (Dkt.
12
     37) (awarding $65,781 in attorneys’ fees and $878.11 in costs after successful dismissal
13
     of copyright claim); Gilbert v. New Line Productions, Inc., CV 09-02231-RGK, 2010
14
     WL 5790688, at *3 (CD Cal. Dec. 6, 2010) (awarding $801,130 in attorneys’ fees where
15
     plaintiff “was only able to point to some generic similarities between the two works that
16
     were not protected under copyright law) aff’d in part, vacated in part, remanded, 490 F.
17
     App’x 34 (9th Cir.2012); Scott v. Meyer, 2:09-cv-06076-ODW-RZx, 2010 WL 2569286
18
     (C.D. Cal. June 21, 2010) (granting $4,797.57 in costs and $83,878.65 in attorney’s fees
19
     following successful motion to dismiss); Jazan Wild v. NBC Universal, 2:10-cv-03615-
20
     GAF-AJW, (C.D. Cal. July 18. 2011) (granting award of $113,041.85 in attorneys’ fees
21
     and costs following successful Rule 12 motion). 6
22
           C.     Defendants are the Prevailing Parties and Are Entitled to Recover
23
                  Their Reasonable Attorneys’ Fees Under 17 U.S.C. § 505
24
           “Prevailing plaintiffs and prevailing defendants are to be treated alike.” Fogerty
25
     I, 510 U.S. at 534. This Court dismissed Plaintiff’s sole copyright claim with prejudice.
26
27   6
      In dismissing Plaintiff’s copyright claims, this Court relied on many of these same
28   cases as factual and legal analogies.
                                              11
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 1
     Defendants thus achieved complete victory over the relevant claims for the purposes of
 2
     the Copyright act and are therefore entitled to fees under Section 505.
 3
           Plaintiff has intimated that because its state-law claims were remanded to state
 4
     court, there is no prevailing party. Plaintiff could not be more wrong – Defendants are
 5
     inarguably the prevailing parties. Gashtili v. JB Carter Props. II, LLC, No. 2:12-CV-
 6
     00815-MMD-PAL, 2014 WL 300178, at *2 (D. Nev. Jan. 24, 2014) (“the Court rejects
 7
     Plaintiffs’ first argument that IDS is not the prevailing party under Nevada law because
 8
     Plaintiffs’ state law claims were dismissed. The pendent state law claims are of no
 9
     consequence to this motion because the Court declined to exercise jurisdiction over
10
     those claims and those claims were not litigated before this Court. What was litigated
11
     was the copyright claim, on which IDS prevailed. Moreover, this case would have never
12
     come before this Court were it not for the disputed copyright. Thus, in identifying the
13
     prevailing party, the Court is not concerned with the dismissed state law claims.”);
14
     Kesey, LLC v. Francis, No. 06-CV-540-AC, 2010 WL 4235857, at *4 (D. Or. July 27,
15
     2010) report and recommendation adopted, No. 06-CV-540-AC, 2010 WL 4257496 (D.
16
     Or. Oct. 20, 2010) (“a party who prevails on a claim under the Act, but not on related
17
     state law claims, is the prevailing party for the purposes of attorney’s fees under Section
18
     505.”); Redwall Live Corp. v. ESG Sec., Inc., No. 1:13-CV-01849-SEB-DML, 2015 WL
19
     791450, at *4 (S.D. Ind. Feb. 24, 2015) (“We shall allow Redwall to walk away with its
20
     state-law claims intact, but we dismiss its copyright claim with prejudice. ESG is the
21
     “prevailing party” on the copyright claim, and is thus presumptively entitled to
22
     attorneys’ fees for the litigation of that claim under 17 U.S.C. § 505”). What is
23
     important, here, is that Defendants were 100% successful over Plaintiff’s copyright
24
     claims.
25
           D.     The Fogerty Factors Weigh Heavily in favor of An Award of Fees
26
                  1.    Degree of Success
27
           Under the first factor, the Court weighs the party’s degree of success in a lawsuit.
28

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 1
     See Fogerty II, 94 F.3d at 559. This factor weighs more in favor of a party who
 2
     prevailed on the merits, rather than on a technical defense. See id. Here, Defendants
 3
     prevailed on the merits, granted Defendants MJOP, and dismissed Plaintiff’s copyright
 4
     claims without leave to amend after finding no substantial similarity. [Dkt. 172 at 65]
 5
     (“The court’s conclusion that the two works are not substantially similar applies equally
 6
     to the remaining defendants . . . the court grants defendants’ motion for judgment on the
 7
     pleadings on Shame on You’s copyright claim.”)
 8
            Accordingly, this factor heavily favors of granting Defendants’ request for
 9
     attorneys’ fees. See Yue v. Storage Tech. Corp., No. C 07-0585 JW, 2008 WL 4185835,
10
     at *4 (N.D. Cal. Sept. 5, 2008) (holding that the first factor weighs in favor of granting
11
     fees because Defendants “obtained a dismissal of the entire action with prejudice,” and
12
     Defendants “established that Plaintiff could not assert new copyrights against
13
     Defendants. . . .”).
14
                   2.       Frivolousness and Objective Reasonableness
15
            While frivolousness is not required, the court may consider whether the positions
16
     advanced by a party were frivolous in determining whether to award fees (see Moljack
17
     Prods., 81 F.3d at 889; Rosciszewski v. Arete Assocs., Inc., 1 F.3d 225, 234 (4th Cir.
18
     1993)); Yankee Candle Co. v. Bridgewater Candle Co., 140 F. Supp. 2d 111, 115 (D.
19
     Mass. 2001) (“To determine objective unreasonableness, a court must examine the
20
     factual and legal assertions advanced by the non-prevailing party, and determine
21
     whether they were reasonable. An unreasonable claim need not be frivolous to be
22
     compensable”), abrogated on other grounds in Invessys, Inc. v. McGraw-Hill
23
     Companies, Ltd, 369 F.3d 16 (lst Cir. 2004); Batjac Prods. Inc, v. Goodtimes Home
24
     Video Corp, 44 U.S.P.Q. 2d 1788, 1790 (CD. Cal. 1997) (“Claims need not be frivolous,
25
     however, in order to merit an award of fees to the prevailing party. . . . Where claims are
26
     objectively unreasonable, frivolousness is not required. . . . Allegations that are
27
     unsupported by facts or law are objectively unreasonable” (citations omitted). Whether
28

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 1
     a party’s claim is objectively reasonable, however, is a factor accorded substantial
 2
     weight in determining whether to award attorneys’ fees. See Matthew Bender & Co. v.
 3
     West Publishing Co., 240 F.3d 116, 121-22 (2d Cir. 2001); accord Columbia Pictures
 4
     Television, 259 F.3d at 1197; Maljack Prods., 81 F.3d at 889.
 5
           As discussed above, Plaintiff’s claims were unreasonable and frivolous from the
 6
     start. The court found few, if any, similarities between the works and none of it was
 7
     protectable. This Court had no trouble, once the two works were put before it, to
 8
     analyze the works and find no substantial similarity. This Court also easily rejected
 9
     numerous other meritless assertions from Plaintiff like attempting to convert the Rule 12
10
     motions into motions for summary judgment, proffering completely improper extrinsic
11
     evidence and expert testimony, claiming the Rule 12 motions were moot because of a
12
     barely amended complaint, and objecting to the timing of the reply.7
13
                  3.     Motivation and Need for Compensation and Deterrence
14
           Bad faith in bringing a claim, while not necessary to the imposition of fees, is a
15
     factor to be taken into consideration in evaluating whether a fee award is appropriate.
16
     Rosciszewski, 1 F.3d at 234 (“While a finding of willful infringement or bad faith on the
17
     part of the opposing party properly may be considered by the district court, the presence
18
     or absence of such motivation is not necessarily dispositive”). “Courts generally hold
19
     that a finding of bad faith can be based on ‘not only the actions that led to [the] lawsuit,
20
     but also [] the conduct of the litigation.’” Gilbert, 2010 WL 5790688, at *3 (quoting
21
     Hall v. Cole, 412 U.S. 1, 15 (1973)).
22
23   7
       Plaintiff’s scorched earth tactics were completely unjustifiable given that the motion
24   picture Walk of Shame was a box office failure. See
25   http://www.imdb.com/title/tt2463288/ (reporting that Walk of Shame grossed $39,751
     at the box office). By the time of the Rule 26 conference in August 2014, it was clear
26   that the film would generate no net profit. See, e.g., Three Boys Music Corp. v. Bolton,
27   212 F.3d 477, 487 (9th Cir. 2000) (copyright claimant was only entitled to recover the
     portion of defendant’s profit that was derived from the use of the plaintiff’s work, not
28   all of the total profit).
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 1
              As discussed above, because the potential recovery was so small, it is likely that
 2
     Plaintiff believed that driving up litigation costs could result in a higher nuisance-value
 3
     settlement. That was likely Plaintiff’s motivation in withholding its screenplay for most
 4
     of the litigation: prevent Defendants from filing a dispositive motion and drive up
 5
     settlement costs. As such, Plaintiff should not be rewarded for its bad faith tactics. An
 6
     award for defendants would “advance considerations of compensation and deterrence.”
 7
     Wild, No. CV 10-3615 at *4 (order granting motion for attorneys’ fees) (quoting Fogerty
 8
     II, 94 F.3d at 558 n. 2). Plaintiff’s tactics likely double or tripled the amount of fees
 9
     Defendants incurred to defend the case. Indeed, as shown by the concurrently filed
10
     Declaration of Stephen R. Mick (“Mick Decl.”), the fees incurred in the last half of this
11
     case are six times larger than the fees incurred in the first half. Mick Decl. Ex. 1. In
12
     Scott, the Court was persuaded to award attorneys’ fees after “[d]efendants were forced
13
     to defend against plaintiff’s claims even after pointing out the fatal flaws from which
14
     her lawsuit suffered.” 2010 WL 2569286 at *3. Attorney’s fees are fully justified under
15
     the circumstances in order to deter Plaintiff – and its attorneys – from filing frivolous
16
     lawsuits against innocent film makers, producers, actors (and actor’s husbands) in the
17
     future and especially to prevent them from delaying swift resolution of those frivolous
18
     cases.
19
                    4.     The Purposes of the Copyright Act
20
              “Under the Copyright Act, the question is whether a successful defense of the
21
     action furthered the purposes of the Act, not whether a fee award would do so.” Mattel,
22
     Inc. v. Walking Mountain Prods., 353 F.3d 792, 816 (9th Cir. 2003). The primary
23
     objective of the Copyright Act is to “encourage the production of original literary,
24
     artistic, and musical expression for the good of the public.” Fogerty I, 510 U.S. at 524.
25
     “This objective is promoted by discouraging infringement as well as by the successful
26
     defense of copyright infringement actions.” Arclightz and Films Pvt. Ltd. v. Video
27
28

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 1
     Palace Inc., 303 F. Supp. 2d356, 363-64 (S.D.N.Y. 2003) (citing Fogerty I, 510 U.S. at
 2
     526).
 3
             Defendants successfully defended against an objectively unreasonable lawsuit.
 4
     Through their successful defense, Defendants promoted the Copyright Act’s objective of
 5
     ensuring “‘that the boundaries of copyright law [are] demarcated as clearly as possible’
 6
     in order to maximize the public exposure to valuable works.” MiTek Holdings, Inc. v.
 7
     Arce Eng’g Co., 198 F.3d 840, 842-43 (11th Cir. 1999)(citation omitted).
 8
             If fees are awarded in this case, Plaintiff (and Plaintiff’s counsel) will be
 9
     discouraged from filing suits lacking a factual basis against the producers, creators, and
10
     actors (and actor’s family) in movies that have not infringed its copyrights. The
11
     requested amount of fees is not so great, however, that it will chill Plaintiff from
12
     attempting to enforce its rights under the Copyright Act as appropriate in the future.
13
     Furthermore, an award of attorney’s fees is also proper so that Defendants may be
14
     compensated for a portion of the unnecessary fees and costs they were needlessly forced
15
     to incur in their defense of this matter. See Gilbert, 2010 WL 5790688 at *3 (awarding
16
     $801,130 in attorneys’ fees where plaintiff “was only able to point to some generic
17
     similarities between the two works that were not protected under copyright law).
18
     IV.     THE COURT SHOULD AWARD FEES JOINTLY AGAINST
19
             PLAINTIFF’S COUNSEL, CHARLES COATE, UNDER 28 U.S.C. § 1927
20
             Attorneys’ fees should also be jointly awarded against Plaintiff’s counsel, Charles
21
     Coate. Section 1927 furnishes a wholly separate and independent basis upon which fees
22
     may be awarded. “Any attorney or other person admitted to conduct cases in any court
23
     of the United States or any territory thereof who so multiplies the proceedings in any
24
     case unreasonably and vexatiously may be required by the court to satisfy personally the
25
     excess costs, expenses and attorneys’ fees reasonably incurred because of such
26
     conduct.” 28 U.S.C. § 1927. Under Section 1927, recovery of “excess” costs, expenses
27
     and attorney’s fees may be claimed against the attorney who multiplies the proceedings
28

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                                           MOTION FOR FEES
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     upon a finding of subjective bad faith, i.e., knowingly or recklessly raising a frivolous
 2
     argument. MGIC Indem. Corp vs. Moore, 952 F.2d 1120, 1122 (9th Cir. 1991); Lahiri v.
 3
     Universal Music & Video Distribution Corp., 606 F.3d 1216, 1222 (9th Cir. 2010) (“The
 4
     district court’s bad faith finding was based on the cumulative effect of his litigation
 5
     conduct for more than five years. Clear and convincing evidence supports the district
 6
     court’s conclusion that Kornarens acted recklessly and in bad faith and his conduct
 7
     caused unreasonably protracted and costly litigation over a frivolous copyright claim”).
 8
           Mr. Coate recklessly pushed forward expensive litigation for months while at the
 9
     same time defying this Court’s clear orders and preventing Defendants from filing a
10
     Rule 12 motion to dismiss the case. Plaintiff obviously possessed both its screenplay
11
     and Defendants’ movie from the very beginning of the case. But surely Plaintiff’s
12
     counsel deserves a share of the blame in refusing to turn over a copy of Plaintiff’s
13
     screenplay to Defendants for eight months. As a result, Plaintiff’s counsel prevented
14
     Defendants from filing their MJOP until February 2015.
15
           Plaintiff’s counsel’s refusal to produce the Rosen screenplay at the Rule 26
16
     conference was especially disturbing, and clear evidence of bad faith. The Rule 26
17
     disclosure obligations were instituted for the specific purpose of requiring counsel to
18
     produce the core documents that form the basis of the claims, in order to avoid
19
     gamesmanship and prevent needless discovery costs.8 If Rule 26 means anything, it
20
     must mean that a copyright plaintiff has to turn over the work that it alleges has been
21
     infringed. Mr. Coate’s intentional and knowing refusal to do so was the single most
22
     egregious Rule 26 violation that defense counsel has ever seen. If he had turned over
23
24   8
      See Rule 26 Advisory Committee Notes, 1993 Amendment (“Through the addition of
25   paragraphs (1)–(4), this subdivision imposes on parties a duty to disclose, without
     awaiting formal discovery requests, certain basic information that is needed in most
26   cases to prepare for trial or make an informed decision about settlement. … A major
27   purpose of the revision is to accelerate the exchange of basic information about the case
     and to eliminate the paper work involved in requesting such information, and the rule
28   should be applied in a manner to achieve those objectives.”)
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 1
     the Rosen screenplay at the outset of the case, Defendants would have filed a Rule 12
 2
     motion in the summer of 2014 and the costs in this case would have been a small
 3
     fraction of what eventually occurred. Mr. Coate’s actions were the very essence of
 4
     needlessly multiplying the proceedings and vexatious litigation.
 5
           Moreover, as this Court has decided, Plaintiff’s copyright infringement claims
 6
     were objectively unreasonable both in fact and in law. Yet, Mr. Coate actively prevented
 7
     a swift adjudication on the merits. He wanted to keep this case going past the pleading
 8
     stage and he got what he wanted. Now it is time for Mr. Coate to face the consequences
 9
     of his actions.
10
     V.    DEFENDANTS’ ATTORNEYS’ FEES AND COSTS ARE REASONABLE
11
           The Ninth Circuit has specified that “[d]espite a district court’s discretion in
12
     determining the amount of a fee award, it must calculate awards for attorneys’ fees
13
     using the lodestar method.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 982 (9th
14
     Cir. 2008) (citation and internal quotation marks omitted). “The lodestar figure is
15
     calculated by multiplying the number of hours the prevailing party reasonably expended
16
     on the litigation by a reasonable hourly rate.” Id. at 978. (citation omitted). Thus, the
17
     amount of attorneys’ fees “must be [based] on the facts of each case.” Id. (citing
18
     Hensley v. Eckerhart, 461 U.S. 424, 429 (1983)). “While in most cases the lodestar
19
     figure is presumptively reasonable, in rare cases a district court may make upward or
20
     downward adjustments to the presumptively reasonable lodestar on the basis of those
21
     factors set out in Kerr v. Screen Actors Guild, Inc., 526 F.2d 67, 69-70 (9th Cir. 1975),
22
     that have not been subsumed in the lodestar calculation.” Camacho, 523 F.3d. at 982
23
     (quoting Gates v. Deukmejian, 987 F.2d 1392, 1402 (9th Cir. 1992)). “[A] strong
24
     presumption exists that the lodestar . . . represents a reasonable fee. . . G&G Fire
25
     Sprinklers, Inc. v. Bradshaw, 136 F.3d 587, 600 (9th Cir. 1998), vacated on other
26
     grounds, 526 U.S. 1061 (1998).
27
28

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 1
           The amount of fees sought covers approximately 800 hours of total time, which
 2
     was expended from the initial review of the complaint in mid-2014 through the
 3
     preparation of this motion for attorneys’ fees in August of 2015.9 Both the total amount
 4
     of time and the amount of fees sought are eminently reasonable for a multi-claim action
 5
     litigated through the end of discovery. See Mick Decl. ¶ 4.
 6
           The reasonable amounts incurred in defending this suit include:
 7
               Investigating Plaintiff’s claims
 8
               Researching the legal defenses
 9
               Attending numerous court hearings
10
               Extensive motion practice regarding Plaintiff’s failure to provide its
11
                   screenplay
12
               Extensive motion practice regarding Plaintiff’s premature and improper
13
                   discovery
14
               In depth analyzes of the two works at issue in the litigation and
15
                   comparisons between the two.
16
               Responding to broad discovery including hundreds of written requests and
17
                   several party depositions
18
               Drafting and litigating a motion for judgment on the pleadings
19
               Drafting a motion for summary judgment (which would have been filed if
20
                   the Court denied any portion of the motion for judgment on the pleadings)
21
           At the end of the day, the docket in this case contains hundreds (173) entries and
22
     contains at least six thousand pages of filings. The entries and the fees incurred are
23
     heavily back-weighted after December 2014 when Plaintiff finally provided its
24
     screenplay:
25
26   9
       These numbers include the amount of time spent up to the filing of this motion (as
27   explained in the Mick Decl.), the time spent by Ms. Banks and Mr. Handelman’s prior
     attorneys (see Mick Decl. ¶¶ 15, 19), and the time spent and anticipated to be spent on
28   this motion (Stone Decl. ¶ 42).
                                               19
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 1                                     Fees Incurred Per Month
                      $80,000.00
 2                    $70,000.00
                      $60,000.00
 3                    $50,000.00
                      $40,000.00
 4                    $30,000.00
                      $20,000.00                                              FEES
 5                    $10,000.00
                           $0.00
 6




                                     Jul‐15
                                    Jan‐15
                                    Feb‐15
                                   Apr‐14


                                    Jul‐14




                                   Dec‐14



                                   Apr‐15
                                   May‐14


                                   Aug‐14




                                   May‐15
                                   Oct‐14
                                   Nov‐14



                                   Mar‐15
                                   Jun‐14




                                   Jun‐15
                                   Sep‐14
 7
 8
 9   The lion’s share of such fees could have been easily avoided with an early production of
10   Plaintiff’s screenplay – if only Plaintiff had upheld its obligations.
11         A complete record of the time and fees for which reimbursement is sought is
12   attached as Exhibit 1 to the Mick Declaration. These records are taken directly from the
13   contemporaneously prepared time and billing records of the Barnes and Thornburg firm.
14   Mick Decl., ¶¶ 4. The hours spent by counsel, as reflected in this application, were
15   reasonably and necessarily spent in defense of the action. Id., ¶¶ 3-5.
16         The billing rates for which Defendants seek reimbursement in this motion for the
17   proceeding are as follows:
18         Stephen R. Mick [Partner]         $595 / hr
19         Devin Stone [Sr. Associate]       $395 / hr
20         Stacey Foster [Associate]         $320 / hr
21         Jennifer Wylie [Sr. Paralegal]    $270 / hr
22         Carla Montiel [Sr. Paralegal]     $270 / hr
23         James Cho [Paralegal]             $200 / hr
24         The rates requested in this application, cited above, are reasonable in view of the
25   experience of counsel and the quality of the work performed; the rates are also
26   consistent with prevailing hourly rates for private attorneys of similar skill and
27   experience in the Los Angeles legal community. See Mick Decl., ¶¶ 7-9. See also
28   DuckHole Inc. v. NBC Universal Media LLC, CV-12-10077-BRO, 2013 WL 5797204
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 1
     (C.D. Cal. Oct. 25, 2013) (finding hourly rates of $580 per hour reasonable and
 2
     awarding attorneys’ fees); Goldberg v. Cameron, No. C-05-03534 RMW, 2011 WL
 3
     3515899, at *7 (N.D. Cal. Aug. 11, 2011) (finding the hourly rates charged by a partner
 4
     at Greenberg Glusker in Los Angeles for $550 an hour to be reasonable in 2009 for a
 5
     copyright infringement case). A detailed description of counsel’s experience and
 6
     qualifications is set forth in the Mick Decl. ¶¶ 10-14. The quality of the work and the
 7
     results obtained are, of course, a matter of record before the Court. As detailed further
 8
     in the Mick Declaration, the Ninth Circuit and this district has found counsel’s rates to
 9
     be reasonable on multiple occasions. Mick Decl. ¶ 10.
10
           Multiplying the hours reasonably expended times the market rates produces a
11
     lodestar total amount of $360,616.00. The total amount of attorneys’ fees fall within the
12
     range approved in copyright cases dismissed at a similar posture. See e.g., Gilbert, 2010
13
     WL 5790688 at *3 (awarding $801,130 in attorneys’ fees where plaintiff “was only able
14
     to point to some generic similarities between the two works that were not protected
15
     under copyright law); Wild v. NBC Universal, 2:10-cv-03615-GAF-AJW at *6
16
     (awarding Defendants $112,590.80 in attorneys’ fees after dismissing the copyright
17
     infringement case because the works lacked in substantial similarity); Maljack Prods.,
18
     81 F.3d at 890 (affirming district court’s award of $162,175.04 after granting summary
19
     judgment).10
20
           Defendants concurrently submit a bill of costs in accordance with local rules
21
     seeking $3,825.15 for the reasonable and allowable costs incurred in this case.
22
     \\
23
     \\
24
     \\
25
26   10
       The only reason the parties in Wild incurred fewer fees is that they were able to have
27   their Rule 12 motions heard and decided before discovery began; here, Plaintiff
     prevented any adjudication before discovery. Adjusted for twenty years of inflation,
28   Maljack is right in line with the amount sought here.
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 1
     VI.      CONCLUSION
 2
              For the foregoing reasons, Defendants request that the Court award its attorneys’
 3
     fees in the amount of $360,616.00 in favor of Defendants and against Plaintiff Shame
 4
     on You Productions, Inc. and Plaintiff’s attorney of record – Charles Coate.
 5
 6
     Dated: August 28, 2015                   BARNES & THORNBURG LLP
 7
 8                                            By:          /s/ Devin Stone
                                                          STEPHEN R. MICK
 9                                                          DEVIN STONE
                                                       Attorneys for Defendants
10                                              Lakeshore Entertainment Group LLC et al.
11
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Notices
2:14­cv­03512­MMM­JC Shame On You Productions Inc et al v. Elizabeth
Banks et al CASE CLOSED on 08/14/2015

ACCO,(JCx),AO121,CLOSED,DISCOVERY,MANADR,PROTORD


   UNITED STATES DISTRICT COURT for the CENTRAL DISTRICT OF
                        CALIFORNIA

Notice of Electronic Filing

The following transaction was entered by Stone, Devin on 8/28/2015 at 8:17 PM PDT
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Case Name:           Shame On You Productions Inc et al v. Elizabeth Banks et al
Case Number:         2:14­cv­03512­MMM­JC
Filer:               Lakeshore Entertainment Corp.
WARNING: CASE CLOSED on 08/14/2015
Document Number: 174

Docket Text:
NOTICE OF MOTION AND MOTION FOR FEES AND COSTS filed by
DEFENDANTS Lakeshore Entertainment Corp.. LAKESHORE
ENTERTAIMENT GROUP, LLC, LAKESHORE ENTERTAINMENT CORP.,
FILMDISTRICT PICTURES, LLC, FOCUS FEATURES, LLC, SIDNEY
KIMMEL ENTERTAINMENT, INC. STEVEN BRILL, ELIZABETH BANKS
AND MAX HANDELMAN NOTICE OF MOTION AND MOTION FOR FEES
AND COSTS (Stone, Devin)


2:14­cv­03512­MMM­JC Notice has been electronically mailed to:

Charles Michael Coate    ccoate@abramscoate.com, tjohnson@abramscoate.com

David Aronoff     daronoff@foxrothschild.com, cliu@foxrothschild.com

Devin Stone     devin.stone@btlaw.com, ajohnson@btlaw.com

Stephen R Mick     smick@btlaw.com, Docket­LA@btlaw.com,
      Case 2:14-cv-03512-MMM-JC Document 180 Filed 08/31/15 Page 32 of 32 Page ID
                                      #:12995
rshushanyan@btlaw.com

Theresa E Johnson    tjohnson@abramscoate.com

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91d95be3c5a90f00501fd7e1ff556f5ac24c96bd27f2fe2326e31f7011728]]
